


  Order reversing judgment of conviction reversed in the following memorandum: The Suffolk County Court had no jurisdiction of the appeal since the affidavit of errors was not timely filed (Code Crim. Pro., § 751;
  
   People
  
  v.
  
   Omans,
  
  306 N. Y. 375). If we were to reach the question posed on this appeal, we would hold on the merits that under section 344-a of the Civil Practice Act the trial court had power to take judicial notice of the Long Island State Park Commission Ordinance under which the defendant had been charged. No opinion.
 

  Concur: Chief Judge Desmond and Judges Dye, Fuld, Froessel, Van Voorhis, Burke and Foster.
 
